        Case 2:05-cr-00215-MJP            Document 74      Filed 08/05/05          Page 1 of 2



                                                              The Honorable Marsha J. Pechman
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 6                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 7                                    AT SEATTLE
 8

 9    UNITED STATES OF AMERICA,                     NO. CR 05-0215P
10                           Plaintiff,             ORDER
11           vs.
12    PATRICK SCOTT BRACKETT,
13                           Defendant.
14
            This Court having considered the Stipulation of the parties hereby grants the
15
     parties’ request for a continuance of the trial date. Defendant Patrick Scott Brackett has
16
     indicated his knowing, voluntary and intelligent waiver of his right to speedy trial by
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     executing a written waiver of his right to a speedy trial through November 15, 2005.
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            In view of the parties’ agreement to continue the trial date, for the reasons stated in
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     their stipulation, the defendant’s knowing, voluntary and intelligent waiver of his right to
20
     a speedy trial, the parties’ desire to continue to engage in plea discussions, the lock down
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     status of the defendant at Pioneer Center North, and the interest of the public in assuring
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     the accused adequate, effective, and continued representation by counsel presently
23
     assigned, this Court finds that the ends of justice served by granting a continuance
24
     outweighs the best interest of the public and the defendants in a speedy trial.
25
     ORDER - 1                                                           LAW OFFICES OF
                                                                     STEWART P. RILEY
                                                                      Suite 4000, 800 Fifth Avenue
                                                                       Seattle, Washington 98104
                                                                 (206) 622-0925 FAX (206) 292-9736
        Case 2:05-cr-00215-MJP        Document 74       Filed 08/05/05         Page 2 of 2




 1          The parties’ motion for a continuance is granted. The trial is set for October 31,

 2 2005. The time from filing the stipulated motion through the new trial date shall be

 3 excludable under the Speedy Trial Act, Title 18, USC Section 3161(h)(8)(A).

 4                                Dated this 5th day of August, 2005
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 6                                /S/ Marsha J. Pechman
                                  UNITED STATES DISTRICT JUDGE
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 9 Presented by:

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11
   ___________________________
12 Stewart P. Riley
   Attorney for Patrick Brackett
13 800 Fifth Avenue, Suite 4000
   Seattle, WA 98104
14 Telephone: 206-622-0925
   Facsimile: 206-292-9736
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     ORDER - 2                                                         LAW OFFICES OF
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